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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE

BRANDON SMITH,                           )
individually,                            )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )    Civil Action No. ________________
                                         )
POPLAR PERKINS                           )
ASSOCIATION,                             )
a domestic company,                      )
                                         )
     Defendant.                          )
______________________________

                                   COMPLAINT

       Plaintiff, BRANDON SMITH, (hereinafter “SMITH” or “Plaintiff”) hereby

sues Defendant, POPLAR PERKINS ASSOCIATION, a domestic company,

(hereinafter “Defendant”) for injunctive relief, attorney’s fees, litigation expenses,

and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et

seq. (hereinafter “ADA”), and the ADA Accessibility Guidelines, 28 C.F.R. Part

36 (hereinafter “ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42
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U.S.C. § 12181 et seq., based upon Defendant, POPLAR PERKINS

ASSOCIATION’s, failure to remove physical barriers to access and violations of

Title III of the ADA.

       2.     Venue is properly located in the Western District of Tennessee

pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district of the

property situs or the judicial district in which a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred. The Defendant’s property is

located in and does business within this judicial district and all events giving rise to

this lawsuit occurred in this judicial district.

       3.     Plaintiff, BRANDON SMITH, is and has been at all times relevant to

the instant matter, a natural person residing in Tennessee and is sui juris.

       4.     Plaintiff is an individual with disabilities as defined by the ADA.

       5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return

to a location, in part, stems from a desire to utilize ADA litigation to make his
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home community more accessible for Plaintiff and others; and pledges to do

whatever is necessary to create the requisite standing to confer jurisdiction upon

this Court so an injunction can be issued correcting the numerous ADA violations

on the Subject Property, including returning to the Ugly Mug Cafe as soon as it is

accessible (“Advocacy Purposes”).

       8.    Defendant, POPLAR PERKINS ASSOCIATION, is a domestic

company conducting business in the State of Tennessee and within this judicial

district.

                          FACTUAL ALLEGATIONS

       9.    On multiple prior occasions, and as recently as December of 2019,

Plaintiff attempted to but was deterred from patronizing and/or gaining equal

access as a disabled patron, to the Ugly Mug Cafe, a cafe located at 4610 Poplar

Avenue, Memphis, Tennessee 38117.

       10.   POPLAR PERKINS ASSOCIATION, is the owner, lessor, and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the Ugly Mug Cafe and its attendant facilities, including

common vehicular parking and exterior paths of travel within the site identified by

the Shelby County Assessor parcel identification number 057019 00032 (“Subject

Facility”, “Subject Property”).
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      11.    Plaintiff lives less than twenty (20) miles from the Subject Property.

Because the Subject Property is located on Poplar Avenue, a Memphis

thoroughfare that he frequents routinely, he is consistently where the Subject

Property is located and travels in and about the immediate area of the Subject

Property numerous times every week.

      12.    Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, POPLAR PERKINS ASSOCIATION, is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Subject

Property, including those set forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property

on multiple prior occasions, and at least once before as a patron and advocate for

the disabled. Plaintiff intends on revisiting the Subject Property within six months

of the filing of this Complaint or sooner, as soon as the barriers to access detailed

in this Complaint are removed. The purpose of the revisit is to be a regular patron,

to determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.
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      14.   Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.   Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such

harm and injury as a result of the illegal barriers to equal access present at the

Subject Property.

                                     COUNT I

      16.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.   The Subject Property is a public accommodation and service

establishment.
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     18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

     19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as an intended patron and as an independent

advocate for the disabled, but could not fully do so because of his disabilities

resulting from the physical barriers to access, dangerous conditions and ADA

violations that exist at the Subject Property that preclude and/or limit his access to

the goods, services, facilities, privileges, advantages and/or accommodations

offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to

utilize all of the goods, services, facilities, privileges, advantages and/or
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accommodations commonly offered at the Subject Property but will be unable to

fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services,

facilities, privileges, advantages and/or accommodations offered therein, including

those barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     23.     Defendant, POPLAR PERKINS ASSOCIATION, has discriminated

against Plaintiff (and others with disabilities) by denying his access to, and full

and equal enjoyment of the goods, services, facilities, privileges, advantages

and/or accommodations of the Subject Property, as prohibited by, and by failing to

remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

     24.     Defendant, POPLAR PERKINS ASSOCIATION, will continue to

discriminate against Plaintiff and others with disabilities unless and until

Defendant, POPLAR PERKINS ASSOCIATION, is compelled to remove all

physical barriers that exist at the Subject Property, including those specifically set

forth herein, and make the Subject Property accessible to and usable by Plaintiff

and other persons with disabilities.

     25.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or
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limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of

the Subject Property include, but are not limited to:

                            ACCESSIBLE PARKING
            a. There are no designated accessible parking spaces
               present in violation of Section 4.6 of the 1991
               ADAAG and Sections 208 and 502 of the 2010
               ADAAG. This violation made it dangerous for
               Plaintiff to utilize the parking facility at the Subject
               Property and caused Plaintiff undue upset and loss of
               opportunity.

            b. There is no van accessible parking present in violation
               of Section 4.6 of the 1991 ADAAG and Sections 208,
               302 and 502 of the 2010 ADAAG. This violation
               made it dangerous for Plaintiff to utilize the parking
               facility at the Subject Property and caused Plaintiff
               undue upset and loss of opportunity.

            c. There are no access aisles for any parking spaces in
               violation of Section 4.6 of the 1991 ADAAG and
               Section 502 of the 2010 ADAAG. This violation
               made it dangerous for Plaintiff to utilize the parking
               facility at the Subject Property and caused Plaintiff
               undue upset and loss of opportunity.

            d. The paint delineating the accessible parking and/or
               access aisle serving the designated accessible parking
               is not maintained so that it clearly marks the
               accessible parking location in violation of 28 CFR §
               36.211, Section 4.6 of the 1991 ADAAG, and Section
               502.3.3 of the 2010 ADAAG. These violations made
               it dangerous for Plaintiff to utilize the parking facility
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              at the Subject Property and caused Plaintiff undue
              upset and loss of opportunity.


                                     RAMP

           e. The curb ramp (the only means of access to
              wheelchair users) has a run which exceeds the
              maximum slope requirement (8.33%) set forth in
              Section 4.7.2 of the 1991 ADAAG and Section 406.1
              of the 2010 ADAAG. This violation made it
              dangerous for Plaintiff to access the Subject Facility
              and caused Plaintiff undue upset and loss of
              opportunity.

                   ACCESS TO GOODS AND SERVICES

           f. The sales/service counter is too high for wheelchair
              users. Violation: The sales/service counter exceeds the
              maximum allowable height of 36 inches from the
              finish floor in violation of Section 7.2 of the 1991
              ADAAG and Sections 227.3 and 904.4 of the 2010
              ADAAG. This violation prevented access to Plaintiff
              equal to that of able-bodied individuals and caused
              him humiliation and embarrassment.

           g. The minimum required clear space of the sales
              counter is obstructed by objects (sales items,
              merchandise, etc.) regularly placed and/or maintained
              within the minimum required clear counter surface
              area (36 inches wide) in violation of 28 CFR §
              36.211, Section 7.2 of the 1991 ADAAG, and
              Sections 227.3 and 904.4 of the 2010 ADAAG. These
              violations prevented access to Plaintiff equal to that of
              able-bodied     individuals     and      caused      him
              embarrassment and humiliation.
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                          ACCESSIBLE RESTROOM

            h. The restroom door closer causes the door to close too
               quickly. Violation: The sweep speed settings of the
               door closer for the accessible restroom door has not
               been maintained properly by Defendant which has
               caused the door closing speed to increase with time
               and use so that the time allowed to transition the door,
               from an open position of 90 degrees to a position of
               12 degrees from the latch, is too brief to allow
               individuals with mobility impairments to enter and/or
               exit safely, independently and/or without difficulty in
               violation of Section 4.13.10 of the 1991 ADAAG and
               Section 404.2.8 of the 2010 ADAAG. This accessible
               feature is not being maintained by Defendant in
               violation of 28 CFR § 36.211. This violation made it
               physically difficult and stressful for Plaintiff to enter
               and exit the accessible restroom.

            i. The pressure setting on the restroom door closer has
               not been maintained properly by Defendant which has
               caused the pressure required to open/close the
               restroom door to increase with time and use such that
               the restroom door requires excessive force to open.
               Violation: The restroom door requires more than the
               maximum allowable opening force for an interior
               hinged door (5 foot pounds-force) in violation of
               Section 4.13.11 of the 1991 ADAAG and Section
               404.2.9 of the 2010 ADAAG Standards. This
               accessible feature is not being maintained by
               Defendant in violation of 28 CFR § 36.211. This
               violation caused Plaintiff difficulty, physical strain
               and stress, and humiliation when attempting to use the
               restroom entry door independently.

            j. The restroom entrance door hardware (door “knob”)
               requires tight grasping, pinching, or twisting of the
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               wrist. Violation: ADA compliant door hardware is not
               provided on the restroom doors in violation of Section
               4.13.9 of the 1991 ADAAG and Sections 309.4 and
               404.2.7 of the 2010 ADAAG.

            k. The toilet flush valve is not reachable for a person
               bound to a wheelchair. Violation: The flush valve is
               not mounted on the open side of the toilet in violation
               of Section 4.16.5 of the 1991 ADAAG and Section
               604.6 of the 2010 ADAAG.

            l. The mirror provided for public use in the restroom is
               mounted too high to be accessed by a wheelchair user
               in violation of Section 4.19 of the 1991 ADAAG and
               Section 603 of the 2010 ADAAG.
                         MAINTENANCE PRACTICES

            m. Defendant has a practice of failing to maintain the
               accessible features of the facility, creating barriers to
               access for the Plaintiff, as set forth herein, in violation
               of 28 CFR § 36.211. This practice prevented access to
               the plaintiff equal to that of Defendant’s able-bodied
               customers causing Plaintiff loss of opportunity,
               anxiety, humiliation and/or embarrassment.

            n. Defendant has a practice of failing to maintain the
               accessible elements at the Subject Facility by
               neglecting its continuing duty to review, inspect, and
               discover transient accessible elements which by the
               nature of its design or placement, frequency of usage,
               exposure to weather and/or other factors, are prone to
               shift from compliant to noncompliant so that said
               elements may be discovered and remediated.
               Defendant failed and continues to fail to alter its
               inadequate maintenance practices to prevent future
               recurrence of noncompliance with dynamic accessible
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                elements at the Subject Facility in violation of 28
                CFR § 36.211, the 1991 ADAAG, and the 2010
                ADAAG. These violations, as set forth hereinabove,
                made it impossible for Plaintiff to experience the
                same access to the goods, services, facilities,
                privileges, advantages and accommodations of the
                Subject Facility as Defendant’s able-bodied patrons
                and caused loss of opportunity, anxiety,
                embarrassment and/or humiliation.

            o. Defendant has failed to modify its discriminatory
               maintenance practices to ensure that, pursuant to its
               continuing duty under the ADA, the Subject Property
               remains readily accessible to and usable by disabled
               individuals, including Plaintiff, as set forth herein, in
               violation of 28 CFR § 36.302 and 36.211. This failure
               by Defendant prevented access to the plaintiff equal to
               that of Defendant’s able-bodied customers causing
               Plaintiff loss of opportunity, anxiety, humiliation
               and/or embarrassment.

      26.   The discriminatory violations described above are not an exhaustive

list of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the Subject

Property’s ADA violations affecting the Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by

Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of

discriminatory violations through expert findings of personal observation, he has
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actual notice that the defendant does not intend to comply with the ADA.

      27.   The defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review,

inspect, and discover transient accessible elements which by the nature of its

design or placement, frequency of usage, exposure to weather and/or other factors,

are prone to shift from compliant to noncompliant, so that said elements are

discovered and remediated. Defendant failed and continues to fail to alter its

inadequate maintenance practices to prevent future recurrence of noncompliance

with dynamic accessible elements at the Subject Property in violation of 28 CFR

§§ 36.202 and 36.211. These violations, as referenced hereinabove, made it

impossible for Plaintiff, as a wheelchair user, to experience the same access to the

goods, services, facilities, privileges, advantages and accommodations of the

Subject Property as Defendant’s able-bodied patrons.

      28.   Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.   The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where

the 2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and

all of the alleged violations set forth herein can be modified to comply with the

1991 ADAAG standards.
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      30.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.   Each of the violations alleged herein is readily achievable to modify

to bring the Subject Property into compliance with the ADA.

      32.   Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the

straightforward nature of the necessary modifications.

      33.   To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.   Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by

the government pursuant to Section 44 and/or Section 190 of the IRS Code.
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      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of

public accommodation since January 26, 1992, then Defendant is required to

ensure to the maximum extent feasible, that the altered portions of the facility are

readily accessible to and usable by individuals with disabilities, including people

who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were

designed and constructed for first occupancy subsequent to January 26, 1993, as

defined in 28 CFR 36.401, then the Defendant’s facilities must be readily

accessible to and useable by individuals with disabilities as defined by the ADA.

To date, Defendant has failed to comply with this mandate.

      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, POPLAR PERKINS ASSOCIATION, is required to
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remove the physical barriers, dangerous conditions and ADA violations that exist

at the Subject Property, including those alleged herein. Considering the balance of

hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

      38.     Plaintiff’s requested relief serves the public interest.

      39.     Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, POPLAR PERKINS ASSOCIATION,

pursuant to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be

denied full and equal access to the subject premises, as provided by the ADA

unless the injunctive relief requested herein is granted.

      40.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities

to make them readily accessible to, and useable by, individuals with disabilities to

the extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty

to maintain the accessible features at the premises in the future as mandated by 28

CFR 36.211.

      WHEREFORE, the Plaintiff prays as follows:
      A.      That the Court find Defendant, POPLAR PERKINS
              ASSOCIATION, in violation of the ADA and ADAAG;
      B.      That the Court enter an Order requiring Defendant,
              POPLAR PERKINS ASSOCIATION, to (i) remove the
              physical barriers to access and (ii) alter the Subject
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            Property to make the subject property readily accessible
            to and useable by individuals with disabilities to the full
            extent required by Title III of the ADA;
      C.    That the Court enter an Order directing Defendant,
            pursuant to 28 C.F.R. § 36.211, to fulfill its continuing
            duty to maintain and repair its accessible features and
            equipment in the future so that the facility remains
            accessible to and useable by individuals with disabilities
            in the future, to the full extent required by Title III of the
            ADA;
      D.    That the Court enter an Order directing Defendant to
            implement and carry out effective policies, practices, and
            procedures to maintain and repair its accessible features
            and equipment in the future pursuant to 28 C.F.R. §
            36.302 and 28 C.F.R. § 36.211.
      E.    That the Court enter an Order directing Defendant to
            evaluate and neutralize its policies and procedures
            towards persons with disabilities for such reasonable time
            so as to allow them to undertake and complete corrective
            procedures;
      F.    An award of attorneys’ fees, costs (including expert
            fees), and litigation expenses pursuant to 42 U.S.C. §
            12205;
      G.    An award of interest upon the original sums of said
            award of attorney’s fees, costs (including expert fees),
            and other expenses of suit; and
      H.    Such other relief as the Court deems just and proper,
            and/or is allowable under Title III of the Americans with
            Disabilities Act.
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      Dated this the 24th day of January, 2020.


                               Respectfully submitted,

                               By: s/ Jeffrey Lucas Sanderson
                               Jeffrey Lucas Sanderson, Esq.
                               Counsel for Plaintiff
                               Tennessee State Bar No.: 35712

Of Counsel:
Wampler, Carroll, Wilson & Sanderson, P.C.
44 N 2nd Street, Ste 502
Memphis, TN 38103
Telephone: (901) 523-1844
Email: admin@wcwslaw.com


DEFENDANT TO BE SERVED:
POPLAR PERKINS ASSOCIATION
c/o Graber Investments
4646 Poplar Avenue
Memphis, TN 38117
